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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:21-cv-03384-PAB-MEH

  PUBLIC INTEREST LEGAL FOUNDATION, INC., Plaintiff,

  V.
  JENA GRISWOLD, in her official capacity as Secretary of State for the State Colorado,
  Defendant.

                            DECLARATION OF ERIKA FRIEDLANDER


            I, Erika Friedlander, pursuant to 28 U.S.C. § 1746, do depose and state as follows:

            1.     I am over the age of eighteen years.

            2.     I am employed by the Colorado Department of State as the Senior Legal Advisor

   in the Administrative Division. I have held this position since March, 2021. My duties include

   performing research and making policy recommendations. Additionally, I am the person who

   usually implements the litigation holds.

            3.     Through my role, I am familiar with the litigation holds in place at the Colorado

   Department of State and the Department' s practices and procedures for implementing litigation

   holds.

            4.     In this case, the Department implemented a litigation hold on October 13, 2021.

   The litigation hold prevents the deletion or destruction of all communications related to Public

   Interest Legal Foundation and the subject matter of the suit, ERIC data, and any factual allegation

   or legal claim set forth in the initial complaint. Consistent with the Department' s practices and

   procedures, the litigation hold will remain in place until this case is fully resolved, including any

   appeals.



                                               EXHIBIT A
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        I declare under penalty of perjury that the foregoing is true and correct.
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        Executed on this _v _ day of ~ us T                   , 2022.




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                                            EXHIBIT A
